    Case: 1:18-cv-05031 Document #: 26 Filed: 08/29/18 Page 1 of 5 PageID #:174



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHENZHEN JINGHE TECHNOLOGY CO., LTD.,                   )
                                                        )
                                       Plaintiff,       )      Case No. 18-cv-5031
                                                        )
        v.                                              )      Judge: Hon. Sara L. Ellis
                                                        )
Does 1-166                                              )      Magistrate: Hon. Maria Valdez
                                                        )
                                                        )
                                       Defendants.      )
________________________________________________        )


MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR ENTRY OF
                 A PRELIMINARY INJUNCTION
     Plaintiff Shenzhen Jinghe Technology Co., Ltd. submits this Memorandum of Law in

support of its Motion for Entry of a Preliminary Injunction.
      Case: 1:18-cv-05031 Document #: 26 Filed: 08/29/18 Page 2 of 5 PageID #:175




                                  MEMORANDUM OF LAW
 I.      INTRODUCTION

          Plaintiff Jinghe Technology Co. Ltd. (“Jinghe” or “Plaintiff”) brings the present action

against the defendants identified on Corrected Amended Schedule A to the Amended Complaint

(the “Defendants”) for federal trademark infringement and counterfeiting (Count I), false

designation of origin (Count II), and violation of the Illinois Uniform Deceptive Trade Practices

Act (Count III). As Jinghe’s Amended Complaint [12] states, the Defendants are promoting,

advertising, marketing, distributing, offering for sale, and selling unauthorized and unlicensed

counterfeit products using counterfeit versions of Jinghe’s federally registered COMWINN

Trademark (The “Counterfeit COMWINN Products”) or use Comwinn Trademark without

Jinghe’s authorization or permission through various fully interactive, commercial Internet

stores operating under Online Marketplace Accounts listed in Corrected Amended Schedule A

to the Amended Complaint (the “Defendant Internet Stores”).

II.     STATEMENT OF FACTS

        On August 8, 2018, this Court granted Jinghe’s Ex Parte Motion for Entry of a Sealed

Temporary Restraining Order (“the TRO”). The TRO authorized Jinghe to provide notice of

these proceedings and the preliminary injunction hearing to Defendants by electronically

publishing a link to the Amended Complaint, and other relevant documents on a website or by

sending an e-mail to the e-mail addresses identified for Defendants by third parties with related

documents. On the same day of August 8, 2018, this Court granted Jinghe to Extend the

Temporary Restraining Order until September 5, 2018. Since and pursuant to entry of TRO,


                                                 2
       Case: 1:18-cv-05031 Document #: 26 Filed: 08/29/18 Page 3 of 5 PageID #:176




Dozens of PayPal accounts and a few of Wish Accounts associated with the Defendant Internet

Stores have been frozen since and pursuant to entry of the TRO. See Declaration of Wei Chen

(hereinafter, “Wei Chen”) at ¶ 3.

III.     ARGUMENT
         A. A Preliminary Injunction Extending Relief Already Granted in the TRO is
            Appropriate
         Jinghe respectfully requests that this Court convert the TRO to a

preliminary injunction to prevent further unlawful conduct by Defendants. Courts addressing

similar allegations of Internet-based counterfeiting have also issued preliminary injunctions

following a temporary restraining order. See, e.g., Deckers Outdoor Corporation v. The

Partnerships, et al., No. 15-cv-3249 (N.D. Ill. May 6, 2015) (unpublished). See Exhibit A to

Declaration of Wei Chen (hereinafter “Chen Declaration”).
              a)   This Court Has Already Found that the Requirements for a Preliminary
                   Injunction Have Been Satisfied
          Because the standard for issuing a Temporary Restraining Order and the standard for

issuing a Preliminary Injunction Order are identical in this Circuit, the requirements for entry of

a preliminary injunction extending the TRO have been satisfied. See, e.g., Charter Nat’l Bank

& Trust v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, at *1 (N.D. Ill. May

15, 2001) (citations omitted). A temporary restraining order or preliminary injunction may be

granted upon meeting the following requirements: “1) there is a reasonable likelihood that

Plaintiff will succeed on the merits; 2) Plaintiff will suffer irreparable injury if the order is not

granted because there is no adequate remedy at law; 3) the balance of hardships tips in

Plaintiff’s favor; and 4) the public interest will not be disserved by the injunction.” Columbia
                                                   3
    Case: 1:18-cv-05031 Document #: 26 Filed: 08/29/18 Page 4 of 5 PageID #:177




Pictures Indus., Inc. v. Jasso, 927 F. Supp. 1075, 1076 (N.D. Ill. 1996). By virtue of this

Court’s entry of the TRO, it has already found that the above elements have been satisfied.


            b)    The Equitable Relief Sought Remains Appropriate


     The Lanham Act authorizes courts to issue injunctive relief on principles of equity and

upon such terms as the court may consider reasonable in order to prevent the violation of any

right of the registrant of a mark. 15 U.S.C. §1116(a).


     The Asset Restraining Order remains appropriate. Jinghe requests conversion of the TRO

to a preliminary injunction so that Defendants’ accounts in U.S.-based financial institutions

remain frozen. After entry of the TRO, PayPal, Inc. (“PayPal”) and Wish.com have provided

Plaintiff with information, including the identification of dozens of financial accounts linked to

the Defendant Internet Stores which were offering for sale and/or selling COMWINN Products

without Plaintiff’s authorization or license. Absent preliminary injunction, Defendants may

attempt to move any assets from any accounts in U.S.-based financial institutions, including

PayPal accounts, to an offshore account, whether defendants are currently located within the US

or outside of the US. Hence, Defendants’ assets should remain frozen for the remainder of the

proceedings.


     The amount of damages to which Jinghe is entitled as alleged in the Amended Complaint

far exceeds any amount contained in any of the Defendants’ frozen financial accounts. For

instance, Jinghe’s prayer for relief requests statutory damages of $2 million from each


                                                 4
      Case: 1:18-cv-05031 Document #: 26 Filed: 08/29/18 Page 5 of 5 PageID #:178




Defendant [12]. In addition, and as established in Jinghe’s TRO memorandum [16], many

federal courts including the Northern District of Illinois, have granted orders preventing the

fraudulent transfer of assets. See, e.g., Lorillard Tobacco Co. v. Montrose Wholesale Candies &

Sundries, Inc., No. 1:03-cv-04844, 2005 WL 3115892 (N.D. Ill. Nov. 8, 2005); Animale Grp.

Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707, 709 (5th Cir. 2007); Levi Strauss & Co. v.

Sunrise Int’l Trading Inc., 51 F.3d 982, 987 (11th Cir. 1995); Reebok Int'l Ltd. v. Marnatech

Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992). As such, an order continuing to freeze the

Defendants’ assets should be granted.


IV.     CONCLUSION

        In view of the foregoing, Jinghe respectfully requests that this Court enter the

preliminary injunction.

Dated this 29th day of August 2018.              Respectfully submitted,


                                                 /s/ Wei Chen
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